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 9                                  UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA

11                                        OAKLAND DIVISION

12

13   IMPINJ, INC.,                                        Case No. 4:19-CV-03161-YGR

14                     Plaintiff,                         NXP USA, INC.’S MOTION FOR
                                                          LEAVE TO FILE MOTION FOR
15          v.                                            RECONSIDERATION OF TRIAL
                                                          ORDER NO. 3 DENYING MOTION
16   NXP USA, INC.,                                       TO AMEND INVALIDITY
                                                          CONTENTIONS (DKT. 411)
17                     Defendant.
                                                          [Civ. L.R. 7-9 – No Hearing Required]
18
                                                          Judge: Yvonne Gonzalez Rogers
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                                                                    NXP’S MOTION FOR LEAVE TO FILE A
                                                                       MOTION FOR RECONSIDERATION
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 1            NXP respectfully requests that the Court grant it leave to move for reconsideration of the
 2   decision denying NXP’s motion for leave to amend its invalidity contentions for U.S. Patent No.
 3   9,633,302 (“the ’302 patent”). NXP seeks to include a single prior art reference (HITAG µ ISO
 4   18000 datasheet). NXP previously sought to amend its contentions to include HITAG because at
 5   summary judgment Impinj urged, and the Court ruled, that the last limitation of claim 1 of
 6   the ’302 patent was non-substantive—a limitation that NXP acknowledges HITAG does not
 7   meet—and this construction renders HITAG anticipatory. Reconsideration is warranted due to
 8   the substantial change in circumstances following the Court’s denial of NXP’s motion to amend.
 9   When the HITAG datasheet was introduced at trial for other purposes, the jury asked whether it
10   could be considered prior art. Impinj’s trial counsel acknowledged HITAG’s relevance to every
11   element of the asserted claims, allowing that he thought it infringed (which would render it
12   anticipatory given its prior art status). The Court subsequently granted a new trial on the validity
13   of claims 1, 3, 4, and 7 of the ’302 patent, and in its November 3, 2023 Pretrial Order set a re-trial
14   for March 18, 2024. The inclusion of HITAG is necessary for a comprehensive and fair
15   determination of the ’302 patent’s validity and will ensure that the upcoming re-trial is decided
16   based on a full and accurate record.
17   I.       INTRODUCTION
18            NXP seeks to include HITAG as a prior art reference for the upcoming re-trial on the
19   validity of claims 1, 3, 4 and 7 of the ’302 patent. NXP moved for leave to amend its invalidity
20   contentions to add HITAG during the brief window between (a) the Court’s May 22 order
21   granting summary judgment of infringement of those claims based on the Court’s construction of
22   the final limitation of independent claim 1 as non-substantive and (b) the July 5 start of trial.
23   Dkts. 339, 367, 397. The Court denied that motion, finding that NXP did not seek to amend in a
24   timely manner and that significant prejudice would result from allowing amendment during trial,
25   as “more discovery would be required and trial strategy entirely upended.” Dkt. 411 at 2.
26            The landscape of the action has changed dramatically since then. On July 14, 2023, a jury
27   rendered an inconsistent verdict finding independent claim 1 of the ’302 patent valid and
28   dependent claims 4 and 7 invalid. On September 28, 2023, the Court vacated that verdict and
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 1   ordered a new trial on obviousness, with the new trial date to be set in a separate order. Dkt. 471
 2   at 16. On November 3, 2023, the Court issued Pretrial Order No. 1A setting a re-trial date for
 3   March 18, 2024. Dkt. 486 at 1.
 4          The initial exclusion of HITAG, though recognized as prior art by the jury, was a decision
 5   premised on concerns of undue prejudice and disruption of the trial. But any prejudice has
 6   dissipated following the grant of a new trial, which is more than four months away. And
 7   statements by both the jury and Impinj’s counsel at trial reinforce that HITAG is highly relevant
 8   prior art. Allowing amendment aligns with the judicial preference for deciding cases on their
 9   merits and serves the public interest by fostering a complete and equitable assessment of patent
10   validity. NXP therefore asks that the Court allow it to move for reconsideration of the order
11   prohibiting it from amending its invalidity contentions to add HITAG as prior art, thereby
12   enabling a complete and fair evaluation of the validity of the ’302 patent’s asserted claims.
13   II.    LEGAL STANDARD
14          Under Civil Local Rule 7-9, leave to move for reconsideration should be granted upon a
15   showing (a) of “reasonable diligence in bringing the motion” and (b) either (1) “[t]hat at the time
16   of the motion for leave, a material difference in fact or law exists from that which was presented
17   to the Court before entry of the interlocutory order for which reconsideration is sought”; or
18   (2) “[t]he emergence of new material facts or a change of law occurring after the time of such
19   order.” Civil L.R. 7-9(b). Where reconsideration is requested based on a material difference in
20   fact or law, the moving “party also must show that in the exercise of reasonable diligence [it] did
21   not know such fact or law at the time of the interlocutory order.” Id. at 7-9(b)(1).1
22          As for the underlying order that NXP asks the Court to reconsider, the Court may grant
23   leave to amend invalidity contentions “upon a timely showing of good cause.” P.L.R. 3-6.
24   Circumstances that may warrant a finding of good cause include “[a] claim construction by the
25   Court different from that proposed by the party seeking amendment.” Id. In determining whether
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              Although the Civil Local Rules do not provide a vehicle to expedite determination of this
     motion, see Civ. L.R. 7-9(d), NXP respectfully requests prompt consideration to allow adequate
28   time for development of the record before trial if the motion is granted.
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 1   good cause exists, courts consider (1) whether the moving party acted with diligence in amending
 2   its contentions and (2) whether the non-moving party would be prejudiced if leave to amend is
 3   granted. Verinata Health, Inc. v. Ariosa Diagnostics, Inc., No. C12-05501-SI, 2014 WL
 4   1648175, at *2 (N.D. Cal. Apr. 23, 2014) (citing O2 Micro Int’l Ltd. v. Monolithic Power Sys.,
 5   Inc., 467 F.3d 1355, 1363, 1368 (Fed. Cir. 2006)). The “good cause requirement [of P.L.R. 3-6]
 6   does not require perfect diligence.” Karl Storz Endoscopy-Am., Inc. v. Stryker Corp., No. 14-CV-
 7   00876-RS (JSC), 2016 WL 2855260, at *5 (N.D. Cal. May 13, 2016) (citation omitted).
 8   III.   ARGUMENT
 9          A.      The Setting of a New Trial Date and Events During Trial Constitute Either a
                    Material Difference in Facts or the Emergence of New Material Facts
10                  Warranting Reconsideration.
11          In denying NXP’s motion for leave to amend its invalidity contentions, the Court’s order

12   made clear that timing was everything. The Court advanced the decision of that motion because

13   “we are in the midst of trial.” Dkt. 411 at 1. The Court’s analysis of diligence centered on the

14   “shifting of arguments” during pre-trial proceedings, including Impinj’s decision not to disclose

15   its proposed construction of claim 1’s final limitation as non-substantive until “the prefiling

16   context” of its summary judgment motion, rather than during claim construction. Id. at 2. But the

17   Court “retains discretion to grant leave to amend even in the absence of diligence[.]” Google

18   LLC v. Sonos, Inc., No. 20-cv-03845-EMC (TSH), 2021 WL 4061718, at *6 (N.D. Cal. Sept. 7,

19   2021) (citing Apple Inc. v. Samsung Elecs. Co., No. CV 12–00630 LHK, 2012 WL 5632618, at

20   *5-6 (N.D. Cal. Nov. 15, 2012)). And on that front, the Court found, “importantly, significant

21   prejudice would result [from amendment during trial]: more discovery would be required and

22   trial strategy entirely upended.” Dkt. 411 at 2.

23          Since the Court denied NXP leave to amend its invalidity contentions during trial, the

24   prejudice analysis has been flipped on its head. Specifically, the Court has set a re-trial for March

25   18, 2024, more than four months away, and thus the prejudice inherent in adding an invalidity

26   reference during trial has dissipated. Moreover, statements by both the jury and Impinj’s counsel

27   at trial reinforce the extreme prejudice to NXP that would result from evaluating the validity of

28   the asserted claims without considering a reference that only became prior art after the Court
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 1   entered its summary judgment order finding infringement. These circumstances, whether
 2   characterized as “a material difference in facts” or “new material facts,” warrant reconsideration
 3   of the Court’s order denying NXP leave to amend its invalidity contentions.
 4                  1.     The setting of a new trial materially changes the prejudice analysis.
 5          When NXP moved on June 20 for leave to amend its invalidity contentions to add
 6   HITAG, trial was just two weeks away. The nearness of trial—in fact, the trial was underway by
 7   the time briefing on NXP’s motion concluded—was undeniably critical to the Court’s evaluation
 8   of NXP’s motion. The potential for “more discovery” during trial and the inevitable disruption of
 9   “trial strategy” were “important[]” reasons for the Court’s denial. Dkt. 411 at 2.
10          These concerns lessened significantly, if not dissipated entirely, when the Court issued its
11   orders granting a new trial on the validity of the ’302 patent and—just a week ago—setting the re-
12   trial for March 18, 2024. In conjunction with its original motion, NXP filed its amended
13   invalidity contentions on June 20, 2023, which included a chart mapping the HITAG prior art to
14   the asserted claims. Dkt. 367-4. The chart shows that HITAG satisfies every limitation of claim
15   1 except the final limitation regarding fluid flow, which the Court held on May 22 is not a
16   substantive limitation entitled to patentable weight. With four months before trial, there is ample
17   time for the parties to exchange supplemental expert reports on HITAG, take short depositions,
18   and incorporate HITAG into their trial strategy. Far from “upend[ing]” the parties’ trial strategy
19   (Dkt. 411 at 2), adding HITAG would streamline that strategy by shifting the focus of the validity
20   trial from an obviousness combination to a single anticipatory reference. Were the Court to
21   permit NXP to move for summary judgment of invalidity based on HITAG, the addition of this
22   reference may even obviate the need for the Court to empanel a jury and hold another trial.
23          In short, the fact that a re-trial of the ’302 patent’s validity has now been set for more than
24   four months from now removes the prejudice motivating denial of amendment in the first place.
25                  2.     Statements by both the jury and Impinj’s counsel at trial reinforce the
                           prejudice to NXP in barring amendment of its invalidity contentions.
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27          In contrast, the facts surrounding the original trial establish the significant prejudice to
28   NXP of excluding HITAG as prior art. Because HITAG was admissible at trial as a non-
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 1   infringing alternative, the jury saw that reference and Impinj observed HITAG’s impact on the
 2   jury. Both the jury’s and Impinj’s counsel’s reactions reflect the significance of HITAG to the
 3   validity of the asserted claims of the ’302 patent.
 4           At trial, all of the jury’s non-damages-related questions during deliberations concerned the
 5   ’302 patent, and one expressly addressed HITAG’s role in the ’302 patent’s validity: “Is the
 6   HITAG’s product data sheet (Ex. 160.4) considered prior art?” Dkt. 428 at 6. Having denied
 7   NXP’s motion to amend its invalidity contentions to add HITAG as an anticipatory reference for
 8   the ’302 patent, the Court instructed the jury that the data sheet “was not identified as ‘a prior art
 9   reference.’” Id. At minimum, this colloquy suggests that jurors, presented with evidence of
10   HITAG, may reasonably doubt the novelty of the asserted claims. Indeed, Impinj’s own counsel
11   recognized that HITAG practices every substantive limitation of the ’302 patent’s claims: “Now,
12   candidly, I think [HITAG] infringes.” Tr. at 1388:12-13. But HITAG pre-dates the ’302 patent
13   and therefore it does not infringe; it anticipates.
14           While NXP has believed HITAG anticipates since the Court construed claim 1’s final
15   limitation to be non-substantive in its May 22 summary judgment order, the facts that a jury and
16   Impinj’s counsel appear to agree with that belief are new and different. Excluding HITAG as
17   prior art prejudices NXP, stripping away a key piece of evidence that a jury in March 2024 could
18   reasonably find invalidates the asserted claims of the ’302 patent.
19           B.      NXP Has Exercised Reasonable Diligence in Bringing This Motion.
20           NXP had no basis to bring this motion until the Court ordered a new trial on the ’302
21   patent’s validity and no context for addressing the extent of the changed circumstances before this
22   Court’s November 3 order setting the re-trial for March 18, 2024. NXP’s filing of this motion
23   within five court days of that order is nothing if not diligent. That the trial is still more than four
24   months away simply reinforces the reasonableness of NXP’s diligence.
25           Before the November 3 order, NXP had no ability to evaluate whether granting leave to
26   amend would be prejudicial, as it did not know when the re-trial would be set and whether that
27   date would allow adequate time to incorporate HITAG into the parties’ trial strategies. As soon
28   as NXP learned the date of the re-trial—which provides ample time for both expert reports and
                                                                        NXP’S MOTION FOR LEAVE TO FILE A
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 1   summary judgment—NXP filed its motion. And the sooner reconsideration is granted, the sooner
 2   the parties can incorporate HITAG into their trial preparation.
 3   IV.    CONCLUSION
 4          The Court should grant NXP leave to move for reconsideration of the order denying it
 5   leave to amend its invalidity contentions to add HITAG as prior art.
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 1   Dated: November 13, 2023          JONES DAY
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